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                         UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                  :
                                          :
               v.                         :          Case No. 22-mj-22
                                          :
ILYA LICHTENSTEIN, and                    :
                                          :
HEATHER MORGAN,                           :
                                          :
               Defendants.                :
                                          :

                                  TRANSPORT ORDER

       Having considered the Government’s Motion to have the defendant transported from the

Southern District of New York to the District of Columbia for further proceedings on the

Complaint filed against them,

       It is this _________ day of February, 2022,

       ORDERED, that the United States Marshals Service transport the Defendants forthwith

from the Southern District of New York to the District of Columbia for further proceedings in

this matter.




                                                     BERYL A. HOWELL
                                                     CHIEF JUDGE
                                                     UNITED STATES DISTRICT COURT
                                                     FOR THE DISTRICT OF COLUMBIA
